914 F.2d 1490Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Brian A. BROWN, Plaintiff-Appellant,v.MARYLAND DIVISION OF PAROLE AND PROBATION;  Director,William J. DeVance;  Ex. Assist., Director, DonaldAtkinson, Defendants-Appellees.
    No. 90-6075.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 27, 1990.Decided Sept. 25, 1990.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Walter E. Black, Jr., District Judge.  (C/A No. 87-1641-B).
      Brian A. Brown, appellant pro se.
      Steven Giles Hildenbrand, Assistant Attorney General, Baltimore, for appellees.
      D.Md.
      AFFIRMED.
      Before SPROUSE and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Brian A. Brown appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Brown v. Maryland Division of Parole and Probation, C/A No. 87-1641-B (D.Md. Apr. 4, 1990).  In addition, we deny Brown's motions for copy work and for the introduction of exhibits.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    